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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

      NICHIA CORPORATION,

                  Plaintiff,

      v.                                                Case No. 6:19-CV-1333-RBD-EJK
      LIGHTING SCIENCE GROUP CORP.

                  Defendant.

      __________________________________

                RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
           TO STRIKE DEFENDANT’S NON-INFRINGEMENT CONTENTIONS 1

           Plaintiff’s Motion to Strike Defendant’s Non-Infringement Contentions (D.E. 52,

  “Motion”) seeks to bar Defendant Lighting Science Group Corp. (“Defendant”) from asserting

  “non-infringement theories at some point in the future.” Motion, at 3. Precluding defenses

  “‘ought to be a last resort –ordered only if noncompliance with discovery orders is due to

  willful or bad faith disregard for those orders.’” Pandora Jewelry, LLC v. Cappola Capital

  Corp., 2009 WL 790129, at *3 (M.D. Fla. Mar. 23, 2009) (quoting United States v. Certain

  Real Property Located at Route 1, 126 F.3d 1314, 1317 (11th Cir.1997)) (striking affirmative

  defenses after the defendant willfully disregarded three separate discovery orders and “was

  specifically warned that failure to identify and/or produce documents could result in dismissal

  of all unsupported … affirmative defenses”). Such sanctions are “inappropriate” in “the

  absence of either a motion to compel … or an order of the court compelling discovery.” Route

  1, 126 F.3d at 1318.


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    Filed pursuant to Magistrate Judge Embry J. Kidd’s Standing Order on Discovery Motions
  dated January 3, 2020.
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         During the meet and confer, Plaintiff’s counsel sought better responses and did not

  mention a motion to strike. But Plaintiff did not move to compel, and the Court has not issued

  an order compelling better responses. Nor did Plaintiff present evidence of bad faith.

         Given the limitations of Plaintiff’s contentions and information available to Defendant

  at this time, Defendant’s contentions disclose its anticipated arguments in good faith. Plaintiff

  complains Defendant did not disclose “why an equivalent is not present,” Motion, at 2; but

  Plaintiff did not assert infringement under the doctrine of equivalents, Motion, Ex. A, at 5 (“At

  this time, Nichia contends that the Accused Devices literally infringe …. However, Nichia

  reserves the right to assert infringement under the doctrine of equivalents based on, for example

  discovery from LSG and/or any claim construction issued by the Court”). Plaintiff complains

  Defendant did not “provide specific contentions for each accused infringing product,” Motion,

  at 2; but Plaintiff “charts exemplary … products,” e.g., Motion, Ex. A, Exs. A-C. Defendant

  cannot provide information not yet in its possession. Plaintiff opposes adding third-party

  suppliers (D.E. 50) slowing Defendant’s investigation.

         According to the CMSO, Defendant identifies what it “believes” to be true and

  discloses the facts in its present possession. Non-infringement is a denial, not an affirmative

  defense. See, e.g., Medtronic, Inc. v. Mirowski Family Ventures, LLC, 571 U.S. 191, 198–99

  (2014) (“‘[T]he burden to prove infringement never shifts [to the alleged infringer] if the

  charge is denied in the plea or answer.’”) (quoting Imhaeuser v. Buerk, 101 U.S. 647, 662

  (1880)). The CMSO does not shift the burden of disproving infringement to Defendant. The

  purpose of such early contentions is “to require the parties to identify the likely issues in the




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  case, to enable them to focus and narrow their discovery requests.” Northern Illinois Local

  Patent Rule 2.2. Defendant’s contentions provide such notice and should not be stricken.



                                                Respectfully submitted,

                                                s/Joshua R. Brown____________
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                                CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing has been

  furnished, electronically, through the CM/ECF system, to all counsel of record on February 3,

  2020.

                                                   s/Joshua R. Brown_____________
                                                   Joshua R. Brown




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